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GAS 245B         .(Rev. 04/20) Amended Judgment in a Criminal Case
DC Custody TSR



                                         United States District Court
                                                     SOUTHERN DISTRICT OF GEORGIA
                                                               SAVANNAH DIVISION

             UNITED STATES OF AMERICA                                             AMENDED JUDGMENT IN A CRIMINAL CASE
                                  V.

                    Anthony Wilson Jackson.
                   a/k/a "All Profit" and "AP"                                    Case Number:                4:I8CR001I9-


Date of Original Judgment: May 27, 2021                                           USM Number:                 84494-01
Reason for Amendment: Correction of Judgment for
Clerical Error (Fed.R.Crim.P. 36)*
                                                                                  Walter John Toner, IV
THE DEFENDANT:                                                                    Defendant's Attorney

K1 pleaded guilty to a lesser included offense of Count Is. and Counts 2s. 4s. 5s. 6s. and 8s.

□ pleaded nolo contendere to Count(s)                          which was accepted by the court.
□ was found guilty on Count(s)                         after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                                  Nature of Offense                                                       Offense Ended       Count


21 U.S.C. § 846,21 U.S.C. §
                                                 Conspiracy to possess with intent to distribute marijuana               January 2, 2018          I
841(b)(1)(D), and 18 U.S.C. §2

18 U.S.C. § 371, 18 U.S.C. § 1952                Conspiracy to engage in interstate travel or transportation in aid
                                                                                                                         January 2, 2018          2
and 18 U.S.C. §2                                 of a racketeering business (to promote a prostitution business)

                                                    SEE PAGE 2 FOR ADDITIONAL COUNTS


      The defendant is sentenced as provided in pages 2 through               8       of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on Count(s)
IE! Counts 3s and 7s are dismissed, as to this defendant, on the motion of the United States.

          It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the Court and United States Attorney of material changes in economic circumstances.

                                                                             June 7,2021
                                                                             Date of Imposition of Judgment




                                                                             Signature of Judge


                                                                             William T. Moore, Jr.
                                                                             Judge, U.S. District Court
                                                                             Name and Title of Judge


                                                                             Date
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